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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

PATRICIA A. PREPHAN,

                      Plaintiff,
v.
                                                 Civil Action No. 3:11CV0434
NCO FINANCIAL SYSTEMS, INC., and
                                                 JUDGE JACK ZOUHARY
PALISADES COLLECTION, LLC, and
CHASE BANK,

                      Defendants.

                        ANSWER AND AFFIRMATIVE DEFENSES

       NOW COMES Defendants, NCO Financial Systems, Inc. and Palisades Collection,

LLC (hereinafter individually referred to as “NCO” and “Palisades”, respectively) by and

through undersigned counsel, and for its answer to plaintiff’s complaint, states as follows:

                                    I.      THE PARTIES

       1.     NCO and Palisades deny the allegations contained in ¶ 1 of the Complaint

for lack of sufficient information to justify a reasonable belief therein.

       2.     NCO and Palisades admit the allegations contained in ¶ 2 of the Complaint.

       3.     NCO and Palisades admit the allegations contained in ¶ 3 of the Complaint.

       4.     NCO and Palisades deny the allegations contained in ¶ 4 for lack of

sufficient information to justify a belief therein.

       5.     NCO and Palisades admit the amount in controversy does not exceed

$10,626.29 as alleged in ¶ 5 of the Complaint. Except as specifically admitted, NCO and

Palisades deny the allegations in ¶ 5 of the Complaint.
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                            II.     STATEMENT OF THE FACTS

       6.     NCO and Palisades admit that in approximately August 2009, an account in

plaintiff’s name was placed with NCO for servicing, and that on or about August 21,

2009, NCO documented receipt of correspondence from plaintiff or persons on her behalf

regarding the subject account. Except as specifically admitted, NCO and Palisades deny

the allegations contained in ¶ 6 of the Complaint for lack of sufficient information to

justify a reasonable belief therein.

       7.     NCO and Palisades deny the allegations contained in ¶ 7 of the Complaint.

       8.     NCO and Palisades admit that when they act as debt collectors as defined

by 15 U.S.C. § 1692a(6), their debt collection activities may be regulated by certain

provisions of the Fair Debt Collection Practices Act (FDCPA) 15 U.S.C. § 1692, et seq.

Except a specifically admitted, NCO and Palisades deny the allegations contained in ¶ 8

of the Complaint.

                             III.      FIRST CLAIM FOR RELIEF

               Violation of U,S.C. 1692f(1) – False or Misleading Communications

       9.     In response to ¶ 9 of the Complaint, NCO and Palisades hereby incorporate

by reference their admissions and denials as set forth in the above paragraphs.

       10.    NCO and Palisades deny the allegations contained in ¶ 10 of the Complaint.

                            IV.     SECOND CLAIM FOR RELIEF

                              Unfair or Deceptive Trade Practices

       11.    In response to ¶ 11 of the Complaint, NCO and Palisades hereby

incorporate by reference their admissions and denials as set forth in the above paragraphs.

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       12.    O.R.C. 1345.09 speaks for itself and is the best evidence of its contents. To

the extent that plaintiff states otherwise, NCO and Palisades deny the allegations

Contained in ¶ 12 of the Complaint.

       13.    NCO and Palisades deny the allegations contained in ¶ 13 of the Complaint.

                            IV.    THIRD CLAIM FOR RELIEF

                          Intentional Infliction of Emotional Distress

       14.    In response to ¶ 14 of the Complaint, NCO and Palisades hereby

incorporate by reference their admissions and denials as set forth in the above paragraphs.

       15.    NCO and Palisades deny the allegations contained in ¶ 15 of the Complaint.

       16.    NCO and Palisades deny the allegations contained in ¶ 16 of the Complaint.

                                   PRAYER FOR RELIEF

       17.    NCO and Palisades deny plaintiff is entitled to the relief sought.

       AND NOW, in further Answer to the Complaint, NCO and Palisades aver as

follows:

                            FIRST AFFIRMATIVE DEFENSE

       The Complaint fails to state a claim upon which relief can be granted.

                          SECOND AFFIRMATIVE DEFENSE

       Pursuant to 15 U.S.C. § 1692k(c), to the extent that a violation(s) is established

and in the event NCO or Palisades are found to be a debt collector as defined in FDCPA,

any such violation(s) was not intentional and resulted from a bona fide error,

notwithstanding the maintenance of procedures reasonably adapted to avoid such error.



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                            THIRD AFFIRMATIVE DEFENSE

       Assuming plaintiff suffered any damages, which is denied, plaintiff has failed to

mitigate her damages or take other reasonable steps to avoid or reduce her damages.

                           FOURTH AFFIRMATIVE DEFENSE

       Any harm suffered by plaintiff, which is denied, was legally and proximately

caused by persons, individuals, corporations, or entities beyond the control or supervision

of NCO and Palisades, or for whom NCO and Palisades are not responsible or liable.

       WHEREFORE, Defendants, NCO Financial Systems, Inc. and Palisades Collection,

LLC, respectfully request that this answer be deemed good and sufficient, plaintiff’s

lawsuit be dismissed, with prejudice, at plaintiff’s costs, pursuant to Federal and State

law, plaintiff be ordered to pay reasonable attorney’s fees and costs for NCO and

Palisades, and for all other general and equitable relief.


                                           Respectfully Submitted,

                                           /s/ Franklin C. Malemud
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                           CERTIFCATION OF SERVICE

      A copy of the foregoing has been forwarded to all parties or their counsel of

record via ECF on this 10th day of March 2011 to the following:

Kyle A. Silvers, Esq.            Attorney for Plaintiff
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                                        /s/ Franklin C. Malemud
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